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U`NITED STATES BANKRUPTCY COURT Hearing Date: September 20, 2018
EASTERN DISTRICT OF NEW YORK Hearing Time: 9:30 a.m.
Hearing Place: Central Islip
In Re:
Case No.: 18-74533
Islande Simon . Chapter: 13
aka Islande Noel

aka Islande N. Simon

Debtors.

 

STATEMENT l`N OPPOSITION TO
CONFIRMATION OF DEBTOR’S CHAPTER 13 PLAN

PLEASE TAKE NOTICE, that QUICKEN LOANS INC. by its attomeys,
Davidson Fink LLP, Scott A. Sydelnik, Esq. alleges as follows:
1. This affirmation is submitted for purposes of objecting to
continuation of the Debtor(s) proposed Chapter 13 Plan.
2. QUICKEN LOANS INC. holds a first mortgage encumbering the
debtors’ property located at 212 Bergen Court, Copiague, New York 11726, which
property is owned by the Debtor. Copies of the note, mortgage, and assignment of

mortgage are attached hereto as Exhibit "A", "B", and "C" respectively.

3. The current principal balance on the above-referenced property is
$247,736.56.
4. On or about July 5, 2018, the dcbtor(s) filed Chapter 13 under the United

States Bankruptcy Code for the Eastern District of New York.
5. The Debtor(s) proposed plan states an arrearage in the amount of $20,000.00.
QUICKEN LOANS INC. has determined the arrears in the amount of $52,363.88 for which

a Proof of Claim will be filed.

Debtors’ proposed Ch pter 13 plan; and respectfully requests

Dated:

TO:

 

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By virtue of the foregoing, QUICKEN LOANS C. hereby objects to the

Islande Simon
212 Bergen Court
Copiague, NY 11726

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Suite 109

Islandia, NY l 1749

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Marianne DeRosa, Esq.
Standing Chapter 13 Trustee
125 Jericho Tpke

Suite 105

Jericho, NY 11753

U.S. Trustee

United States Trustee

Long lsland Federal Courthouse
560 Federal Plaza - Room 560
Central lslip, NY 11722-4437

   

Court deny confirmation

 

   
 

Street, Suite 1700
ew York 14614

